          Case: 3:12-cr-00072-TMR Doc #: 220 Filed: 12/12/13 Page: 1 of 1 PAGEID #: 1587
                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
                                                                 Case No.      3:12-cr-72-1
v.
                                                                 Judge Timothy S. Black

BRITTAN GIBSON,

                 Defendant.
                                   CRIMINAL MINUTES before
                           United States District Judge Timothy S. Black

Courtroom Deputy: Mary Rogers
Court Reporter: Jodie Perkins, Official Court Reporter
Date: 12/12/2013 Time: Commenced 10:00 a.m. Concluded 10:30 a.m. Total: 30 mins

United States Attorney: Brent Tabacchi                           Defendant Attorney: Jon Paul Rion


Court P roceeding:      Defendant pleads Guilty to Counts 15 and 16 of the Superseding Indictment
                        Counts 1 and 17 of the Superseding Indictment to be dismissed
_x_ Counsel present


 x Deft=s Counsel withdraws the Motion to Suppress; moves to withdraw Not Guilty Plea/enter into a Plea of Guilty; GRANTED
_x_ Deft Pleads Guilty on the charges


_x_ Deft sworn


_x_ Court questions Deft regarding his competency to enter a plea of guilty.
_x_ Court reviews Defendant=s rights regarding: _x_ Consequences of a plea __ Restitution _x_ Forfeiture _x_ sentencing under
the USSG; _x_ rights to trial; _x_ mandatory minimum and _x_ right to appeal. (Waiver of Appellate Rights at &8 of Plea
Agreement)


_x_ Proposed Binding Plea Agreement summarized; Statement of Facts read into the record by AUSA Brent Tabacchi
_x_ Defendant AFFIRMED Plea/SOF


_x_ 2nd Opportunity for Deft to plead guilty on both cases


_x_ Court accepts Deft=s Plea; finds the Deft to be adjudged Guilty; Court DEFERS acceptance of Plea Agreement pending PSR


_x_ PSI ordered by Court


_x_ Issue of Bond Reviewed; Defendant queried about motion for consideration of home detention; leave granted; Bond Status
to remain in effect – Defendant REMANDED to USMS


Sentencing set for 3/27/2014 at 10:00 a.m. Separate Notice to follow.
